                        IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION

IN THE MATTER OF:

        DUSTON T. POPE,                                          CHAPTER 13
                                                                 CASE NO. 12-66232
                          DEBTOR.                                HON. MARCI B. McIVOR
_______________________________________/

                ORDER GRANTING FEE APPLICATION AT A REDUCED RATE

        This matter having come before the Court upon the application of Rochelle E. Guznack
(“Applicant”), all interested parties having been served with notice of the application and the provisions
of LBR 2016-2 having been met, and subsequent to oral hearing, Applicant’s fee application is granted at
a reduced rate from $1,867.30, including costs, to $1,200.00, inclusive of any and all costs.

        IT IS HEREBY ORDERED:

        1.      The Court approves Applicant’s fees and expenses as follows:

                PRIOR AWARD(S) FOR FEES:                                                  $ 4,420.00
                PRIOR AWARD(S) FOR COSTS:                                                     348.00
                TOTAL AWARD TO DATE:                                                      $ 4,768.00

                THIS AWARD FOR FEES:                             $ 1,200.00
                THIS AWARD FOR COSTS:                            $      0.00
                TOTAL THIS AWARD:                                                        $ 1,200.00
                GRAND TOTAL FEES AND COSTS                                               $ 5,968.00

                BALANCE TO BE PAID BY TRUSTEE                                            $ 1,200.00


       2.      This award covers services rendered and expenses incurred during the time period of
May 27, 2013 through January 29, 2014.




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Signed on April 24, 2014
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